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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
------------------------------------------------------x
                                                       :
THE HERSHEY COMPANY,                                   :   No. 1:20-cv-00140-SHR
                                                       :
                               Plaintiff,              :   Judge Sylvia H. Rambo
                                                       :
               v.                                          Electronically Filed
                                                       :
                                                       :
DOUG BEHRENS,                                          :
                                                       :
                               Defendant.
                                                       :
                                                       :
------------------------------------------------------

                                        ANSWER

       Doug Behrens, by and through his undersigned counsel, hereby

submits his Answer to the Complaint of The Hershey Company (“Hershey”).


              MR. BEHRENS’ PRELIMINARY STATEMENT

       1.      Hershey’s lawsuit is a vindictive attempt to smear the

reputation of a former employee with accusations that Hershey knows to be

false. The core of Hershey’s Complaint is the false allegation that Mr.

Behrens “used or disclosed” Hershey confidential information. But what

Hershey leaves out of its Complaint are the facts that (a) Mr. Behrens

voluntarily submitted to a comprehensive and highly invasive examination

of his personal electronic devices and files, in which Hershey’s lawyers were
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heavily involved; (b) the examination proved that Mr. Behrens had not “used

or disclosed” any Hershey confidential information; (c) Mr. Behrens

voluntarily provided a sworn statement to Hershey to that effect; and (d)

Hershey accepted that sworn statement and simultaneously provided its own

written representation to him confirming that the exhaustive examination

had revealed no evidence of Mr. Behrens using or disclosing any Hershey

confidential information. Nevertheless, on the same day that Hershey

accepted Mr. Behrens’ statement and provided its own written

representation, Hershey filed this lawsuit setting forth accusations that

directly contradict that representation. In making such misrepresentations,

Hershey presumably hides behind the defamation and libel privilege of court

filings in an effort to assassinate Mr. Behrens’ character and destroy his

reputation.

      2.      Evidently Hershey feels vindictive toward Mr. Behrens and

motivated to smear his reputation with knowingly false allegations because

he had the temerity to resign from Hershey after more than a year of

Hershey’s broken promises to him.

      3.      Mr. Behrens joined Hershey as the Chief Customer Officer of

its Amplify Snack Brands subsidiary in May 2018. He accepted the position

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expressly in reliance on Hershey’s promises that (a) he would have

autonomy to run the business, (b) he would have autonomy to choose his

team, and (c) the company would relocate the Amplify headquarters from

Texas to Colorado, Mr. Behrens’ state of residence. Hershey reneged on all

those promises, with the result that Mr. Behrens virtually lived on airplanes

and at airports throughout his tenure at Hershey. After over a year of

backbreaking travel and Hershey’s interference with Mr. Behrens’

management of Amplify brands, Mr. Behrens decided to resign.

      4.     On July 16, 2019, Mr. Behrens gave notice of his intent to

resign to Chris Scalia, then Head of Global Human Resources at Hershey,

and informed Mr. Scalia that he had accepted a role with KIND. Mr. Scalia

asked Mr. Behrens to stay on for an additional transition period in order to

help with an orderly transition. Mr. Scalia also asked Mr. Behrens to keep

confidential his plans to work for KIND so as to limit distractions, not

disrupt the transition, and give Mr. Scalia the opportunity to discuss the

situation with other Hershey executives. Mr. Scalia expressly promised that

if Mr. Behrens would agree to stay on for a transition period, Hershey would

not seek to claw back the $250,000 sign-on bonus Mr. Behrens received

when he started at Hershey – precisely the sign-on bonus that is now the

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subject of Hershey’s first cause of action against Mr. Behrens. In that

conversation, Mr. Scalia twice said that he “sw[ore] on [his] kid’s life” that

Hershey would not come after Mr. Behrens for return of the sign-on bonus.

As a further enticement to encourage Mr. Behrens to stay, Mr. Scalia

promised that he would bridge Mr. Behrens’ last day through a “paid garden

leave” in order to enable Mr. Behrens to vest in an award of Restricted Stock

Units (“RSUs”). Mr. Behrens was very forthright that he had been willing to

walk away from the RSUs, but Mr. Scalia encouraged him to stay for a

transition period so that the RSUs would vest – precisely the RSUs that are

the subject of Hershey’s second cause of action. Although Mr. Behrens

would have preferred to leave more quickly, he agreed, in reliance on Mr.

Scalia’s promises and representations, and out of a sense of loyalty and

respect, to stay on for the transition period.

      5.     Although August 16, 2019, was Mr. Behrens’ last official day

on Hershey’s payroll, he promised his successor and other Amplify

colleagues that he would remain available to them and continue to assist

them if they had any outstanding questions. As it turned out, and as he

expected, Amplify and Hershey executives did in fact reach out to Mr.

Behrens with questions and requests for assistance in the weeks and months

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after he left.

       6.        Mr. Behrens’ successor had almost no knowledge of the

relevant market or customers and had also been unavailable during the final

two weeks of Mr. Behrens’ transition period. With some very significant

business decisions and meetings both internally and with customers

scheduled to occur shortly after Mr. Behrens’ last day, Mr. Behrens felt

personally responsible to remain available to help his successor. To ensure

he would be able to assist, Mr. Behrens emailed a collection of Hershey

documents to his personal Yahoo! email account so that he would be able to

reference them if his successor and/or Amplify colleagues called with

questions or seeking assistance. Ultimately, however, as further detailed

below, Mr. Behrens never used, disclosed, or even accessed any of these

documents.

       7.        As Hershey well knows, Mr. Behrens did not “wipe” his

Hershey-issued laptop in order to try to “cover his tracks” of forwarding the

Hershey documents, as Hershey’s Complaint dramatically, but falsely,

alleges. Rather, Mr. Behrens expressly confirmed with Hershey’s own IT

department that re-installing Windows on the Hershey-issued laptop would

not cause any data to be lost or unavailable to Hershey. Mr. Behrens wanted

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to remove sensitive personal information (e.g., personal tax returns) from the

laptop prior to use by the next Hershey employee who would use it after Mr.

Behrens left Hershey and returned the laptop, but he also first wanted

expressly to confirm with Hershey IT (and did so confirm) that doing so

would not cause any data to be lost – the opposite of an attempt to “cover his

tracks.”

      8.     The most glaring omission from Hershey’s Complaint is any

mention of the immediate, thorough, and responsible steps Mr. Behrens and

KIND took when Hershey raised a concern about the documents he had

forwarded to his personal email account. Within 24 hours after receiving a

letter from Hershey’s lawyers raising concerns, Mr. Behrens voluntarily

delivered his personal laptop, his KIND-issued laptop and his personal

iPhone for inspection by a highly-regarded computer forensics firm

(“Consilio”) and proceeded with a fully transparent process to address

Hershey’s concerns and demonstrate to Hershey conclusively that he had not

used or disclosed any of the Hershey documents.

      9.     Over the next several months, Mr. Behrens, through counsel,

worked cooperatively with Hershey’s lawyers to facilitate an exhaustive and

highly intrusive examination of his personal electronic devices and files.

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Not only were his personal computer and iPhone examined, but he also gave

full access to his personal email account and text messages, including purely

personal communications with his friends and family. His KIND-issued

laptop and KIND email account were also part of the review. The process

was fully transparent: Hershey’s lawyers (a) participated in developing and

agreeing upon a written protocol for Consilio to forensically examine all the

materials; (b) were involved and updated throughout the review period; and

(c) ultimately had the opportunity to review over 1000 documents that were

identified by Consilio as being responsive to an intentionally overbroad set

of search terms.

      10.    The result of that comprehensive, transparent, and invasive

process was complete vindication of Mr. Behrens. The review demonstrated

conclusively that Mr. Behrens did not use or disclose any Hershey

documents. Following the review, Hershey asked Mr. Behrens to sign a

sworn declaration, drafted by Hershey’s lawyers, further confirming that he

did not use or disclose any Hershey confidential information and that he had

followed Hershey’s instructions to delete those Hershey documents

remaining in his possession. Mr. Behrens willingly signed the declaration.

Hershey accepted the signed declaration and simultaneously provided its

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own written representation to him confirming that the review revealed no

evidence of Mr. Behrens using or disclosing any Hershey confidential

information.

      11.      Yet on the very same day that Hershey accepted Mr. Behrens’

declaration and made its written representation to him, Hershey filed this

lawsuit, falsely claiming that it had “no choice” but to do so “despite its

good faith efforts to resolve” issues surrounding Hershey’s present claim for

repayment of the sign-on bonus and the cash value of the RSUs.

      12.      Once again, Hershey omits the true facts. In fact, both Mr.

Behrens and KIND invited a discussion about attempting to resolve this

matter amicably multiple times. KIND reached out to Hershey on a senior

executive level in November 2019 to reiterate that both Mr. Behrens and

KIND were committed to ensuring that Hershey’s information would be

treated in an appropriate manner and to let Hershey know that a business-to-

business channel remained open and available for bringing the matter to an

amicable resolution after the forensic analysis being conducted under the

lawyers’ supervision was completed. After the forensic work was completed

and Hershey confirmed on January 24, 2020, that the forensic examination

had revealed no evidence of any use or disclosure of Hershey documents,

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KIND reached out to Hershey again, on January 26, suggesting that the

companies meet at a senior executive level to try to resolve the two

remaining issues (i.e., Hershey’s claims to return of the sign-on bonus and

the cash value of the RSUs). Additionally, the parties’ respective counsel

were scheduled to speak about a resolution of those two remaining issues on

January 27, 2020. But Hershey did not agree to a business meeting,

canceled the discussion between the lawyers at the last minute, and instead

filed this lawsuit later the same day without warning.

      13.    Hershey apparently decided it would rather file the lawsuit and

publicly smear Mr. Behrens’ reputation than engage in any conversation

about amicably resolving the two issues that remain following the definitive

conclusion that Mr. Behrens never used or disclosed any Hershey

confidential information. The vindictive motive is clear. It is not because

Hershey has any genuine belief that Mr. Behrens used or disclosed Hershey

confidential information; Hershey well knows that is not the case. Rather, as

Hershey and its Amplify division face problems with lagging business

performance, employee defections and low morale (which discovery will

reveal), instead of acknowledging that Hershey lost yet another highly

regarded team leader, it sought to divert attention from its talent exodus by

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discrediting him with this lawsuit.


              RESPONSES TO HERSHEY’S ALLEGATIONS

         Mr. Behrens responds to the specific allegations in the enumerated

paragraphs of the Complaint as follows.1


                       PRELIMINARY STATEMENT

         1.    Mr. Behrens denies the allegations contained in Paragraph 1 of

the Complaint.

         2.     Mr. Behrens admits that he started at Amplify Snack Brands,

Inc. on May 1, 2018, which at the time was owned by Hershey, and he

otherwise denies the allegations contained in Paragraph 2 of the Complaint.

         3.    Mr. Behrens admits that on July 16, 2019 he provided notice of




1
    Except as otherwise expressly admitted herein, Mr. Behrens denies each
    and every allegation contained in the Complaint, including, without
    limitation, any allegations in introductory sections, headings, or
    subheadings of the Complaint, and specifically denies any liability to
    Hershey. Pursuant to Rule 8(b) of the Federal Rules of Civil Procedure,
    any allegations in the Complaint to which no responsive pleading is
    required shall be considered denied. To the extent Mr. Behrens uses
    certain terms from the Complaint in this Answer, such use is not an
    acknowledgement or admission of any characterization Hershey seeks to
    associate with any such terms. Mr. Behrens expressly reserves the right to
    seek to amend and/or supplement this Answer as may be necessary.


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his intent to resign from Amplify. Mr. Behrens further admits that in

reliance on Mr. Scalia’s promise that Hershey would not demand repayment

of Mr. Behrens’ sign-on bonus, Mr. Behrens agreed to continue working at

Amplify for a transition period. Mr. Behrens otherwise denies the

allegations contained in Paragraph 3 of the Complaint.

      4.     Mr. Behrens denies the allegations contained in Paragraph 4 of

the Complaint.

      5.     Mr. Behrens admits that he sent documents from his Hershey

work email account to his personal Yahoo! email address. Mr. Behrens

refers to the documents for the full contents thereof and avers that he lacks

knowledge or information sufficient to form a belief as to the truth of the

allegation that these documents contained Hershey’s trade secret and/or

confidential business information. Mr. Behrens otherwise denies the

allegations contained in Paragraph 5 of the Complaint.

      6.     Mr. Behrens admits that he sent emails and attached documents

from his Hershey work email account to his personal Yahoo! email address

on July 23, 2019. Mr. Behrens refers to the emails and documents for the

full contents thereof and avers that he lacks knowledge or information

sufficient to form a belief as to the truth of the allegation that these emails

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and documents contained Hershey’s confidential and trade secret

information. Mr. Behrens otherwise denies the allegations contained in

Paragraph 6 of the Complaint.

      7.     Mr. Behrens admits that he sent emails and attached documents

from his Hershey work email account to his personal Yahoo! email address

on July 24, 2019, July 30, 2019, August 1, 2019, and August 6, 2019. Mr.

Behrens refers to the emails and documents for the full contents thereof and

avers that he lacks knowledge or information sufficient to form a belief as to

the truth of the allegation that these emails and documents contained

Hershey’s confidential trade and trade secret information. Mr. Behrens

otherwise denies the allegations contained in Paragraph 7 of the Complaint.

      8.     Mr. Behrens admits that he sent an email to his personal

Yahoo! email address, refers to the email for the full contents thereof and

otherwise denies the allegations contained in Paragraph 8 of the Complaint.

      9.     Mr. Behrens refers to the Offer Letter for the full contents

thereof and otherwise denies the allegations contained in Paragraph 9 of the

Complaint.

      10.    Mr. Behrens refers to the Offer Letter for the full contents

thereof and otherwise denies the allegations contained in Paragraph 10 of the

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Complaint.

      11.    Mr. Behrens refers to the Offer Letter for the full contents

thereof and otherwise denies the allegations contained in Paragraph 11 of the

Complaint.

      12.    Mr. Behrens admits that he started at Amplify on May 1, 2018

and that he left within 24 months of his start date. Mr. Behrens otherwise

denies the allegations contained in Paragraph 12 of the Complaint.

      13.    Mr. Behrens refers to the Stock Award for the full contents

thereof and otherwise denies the allegations contained in Paragraph 13 of the

Complaint.

      14.    Mr. Behrens refers to the Stock Award for the full contents

thereof and otherwise denies the allegations contained in Paragraph 14 of the

Complaint.

      15.    Mr. Behrens refers to the Stock Award for the full contents

thereof and otherwise denies the allegations contained in Paragraph 15 of the

Complaint.

      16.    Mr. Behrens refers to the Offer Letter and Stock Award for the

full contents thereof and otherwise denies the allegations contained in

Paragraph 16 of the Complaint.

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      17.    Mr. Behrens denies the allegations contained in Paragraph 17 of

the Complaint.

      18.    Mr. Behrens denies the allegations contained in Paragraph 18 of

the Complaint.


                               THE PARTIES

      19.    Mr. Behrens lacks knowledge or information sufficient to form

a belief as to the truth of the allegations contained in Paragraph 19 of

Complaint.

      20.    Mr. Behrens admits the allegations contained in Paragraph 20

of the Complaint.


                      JURISDICTION AND VENUE

      21.    Paragraph 21 of the Complaint contains conclusions of law to

which no response is required.

      22.    Paragraph 22 of the Complaint contains conclusions of law to

which no response is required.


                        FACTUAL ALLEGATIONS

      23.    Mr. Behrens lacks knowledge or information sufficient to form

a belief as to the truth of the allegations contained in Paragraph 23 of the


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Complaint.

      24.    Mr. Behrens lacks knowledge or information sufficient to form

a belief as to the truth of the allegations contained in Paragraph 24 of the

Complaint, except admits that Hershey acquired Amplify, which owns

brands including SkinnyPop, Oatmega, and Paqui.

      25.    Mr. Behrens refers to the Offer Letter for the full contents

thereof and otherwise denies the allegations contained in Paragraph 25 of the

Complaint.

      26.    Mr. Behrens refers to the Offer Letter for the full contents

thereof and otherwise denies the allegations contained in Paragraph 26 of the

Complaint.

      27.    Mr. Behrens refers to the Offer Letter for the full contents

thereof and otherwise denies the allegations contained in Paragraph 27 of the

Complaint.

      28.    Mr. Behrens refers to the Offer Letter for the full contents

thereof and otherwise denies the allegations contained in Paragraph 28 of the

Complaint.

      29.    Mr. Behrens admits that he received the Stock Award on July

11, 2018. Mr. Behrens refers to the Offer Letter and Stock Award for the

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full contents thereof and otherwise denies the allegations contained in

Paragraph 29 of the Complaint.

      30.    Mr. Behrens refers to the Stock Award for the full contents

thereof and otherwise denies the allegations contained in Paragraph 30 of the

Complaint.

      31.    Mr. Behrens admits the allegations contained in Paragraph 31

of the Complaint.

      32.    Mr. Behrens admits that he was privy to information regarding

Hershey’s financial conditions, market/business strategies, product pricing,

and customers. Mr. Behrens otherwise lacks knowledge or information

sufficient to form a belief as to the truth of the allegations contained in

Paragraph 32 of the Complaint.

      33.    Mr. Behrens lacks knowledge or information sufficient to form

a belief as to the truth of the allegations contained in Paragraph 33 of the

Complaint.

      34.    Mr. Behrens refers to the Stock Award for the full contents

thereof and otherwise lacks knowledge or information sufficient to form a

belief as to the truth of the allegations contained in Paragraph 34 of the

Complaint.

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      35.    Mr. Behrens lacks knowledge or information sufficient to form

a belief as to the truth of the allegations contained in Paragraph 35 of the

Complaint.

      36.    Mr. Behrens admits that on July 16, 2019 he provided notice of

his intent to resign from Amplify. Mr. Behrens further admits that in

reliance on Mr. Scalia’s promise that Hershey would not demand repayment

of Mr. Behrens’ sign-on bonus, Mr. Behrens agreed to continue working at

Amplify for a transition period. Mr. Behrens otherwise denies the

allegations contained in Paragraph 36 of the Complaint.

      37.    Mr. Behrens denies the allegations contained in Paragraph 37 of

the Complaint, except admits that he joined KIND as its Chief Customer

Officer.

      38.    Mr. Behrens denies the allegations contained in Paragraph 38 of

the Complaint.

      39.    Mr. Behrens refers to the August 20, 2019 Letter for the full

contents thereof and otherwise denies the allegations contained in Paragraph

39 of the Complaint.

      40.    Mr. Behrens denies the allegations contained in Paragraph 40 of

the Complaint.

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      41.    Mr. Behrens lacks knowledge or information sufficient to form

a belief as to the truth of the allegations contained in Paragraph 41 of the

Complaint.

      42.    Mr. Behrens admits that he sent files from his Amplify email

account to his personal email account (Behrens_doug@yahoo.com),

including, on information and belief, those identified in sub-paragraphs (a)-

(g). Mr. Behrens refers to the files for the full contents thereof and avers

that he lacks knowledge or information sufficient to form a belief as to the

truth of the allegation that these files contained Hershey’s trade secret and/or

confidential information. Mr. Behrens otherwise denies the allegations

contained in Paragraph 42 of the Complaint.

      43.    Behrens denies the allegations contained in Paragraph 43 of the

Complaint.

      44.    Mr. Behrens denies the allegations contained in Paragraph 44 of

the Complaint.

      45.    Mr. Behrens denies the allegations contained in Paragraph 45 of

the Complaint.

      46.    Mr. Behrens admits that he sent the email to his personal

Yahoo! email address, refers to the email for the full contents thereof, and

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otherwise denies the allegations contained in Paragraph 46 of the Complaint.

      47.    Mr. Behrens denies the allegations contained in Paragraph 47 of

the Complaint.

      48.    Mr. Behrens denies the allegations contained in Paragraph 48 of

the Complaint.

      49.    Mr. Behrens denies the allegations contained in Paragraph 49 of

the Complaint.

      50.    Mr. Behrens lacks knowledge or information sufficient to form

a belief as to the truth of the allegations contained in Paragraph 50 of the

Complaint.

      51.    Mr. Behrens refers to the Stock Award for the full contents

thereof and otherwise denies the allegations contained in Paragraph 51 of the

Complaint.

      52.    Mr. Behrens admits the allegations contained in Paragraph 52

of the Complaint.

      53.    Mr. Behrens admits to receiving the September 27, 2019 Letter.

Mr. Behrens refers to the September 27, 2019 Letter for the full contents

thereof and otherwise denies the allegations contained in Paragraph 52 of the

Complaint.

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      54.    Mr. Behrens admits that neither he nor KIND have made a

specific monetary offer to pay Hershey but denies that Hershey was left with

no choice but to seek relief from this Court, as the parties had expressly

agreed to meet telephonically to try to resolve the remaining issues but

Hershey canceled that meeting and filed this lawsuit without warning

instead.

      55.    Mr. Behrens refers to the Offer Letter for the full contents

thereof and otherwise denies the allegations contained in Paragraph 55 of the

Complaint.

      56.    Mr. Behrens refers to the Stock Award for the full contents

thereof and otherwise denies the allegations contained in Paragraph 56 of the

Complaint.


           COUNT I- ALLEGED BREACH OF OFFER LETTER

      57.    Mr. Behrens restates and reasserts his responses to the

previously numbered allegations as though fully set forth herein.

      58.    Paragraph 58 contains conclusions of law to which no response

is required. To the extent a response is required, Mr. Behrens refers to the

Offer Letter for the full contents thereof and otherwise denies the allegations



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contained in Paragraph 58 of the Complaint.

      59.    Paragraph 59 contains conclusions of law to which no response

is required. To the extent a response is required, Mr. Behrens refers to the

Offer Letter for the full contents thereof and otherwise denies the allegations

contained in Paragraph 59 of the Complaint.

      60.    Paragraph 60 contains conclusions of law to which no response

is required. To the extent a response is required, Mr. Behrens refers to the

Offer Letter for the full contents thereof and otherwise denies the allegations

contained in Paragraph 60 of the Complaint.

      61.    Mr. Behrens refers to the Offer Letter for the full contents

thereof and otherwise denies the allegations contained in Paragraph 61 of the

Complaint.

      62.    Mr. Behrens admits that August 16, 2019 is less than 16 months

after his start date, but otherwise denies the allegations contained in

Paragraph 62 of the Complaint.

      63.    Mr. Behrens denies the allegations contained in Paragraph 63 of

the Complaint.

      64.    Mr. Behrens refers to the Offer Letter for the full contents

thereof and otherwise denies the allegations contained in Paragraph 64 of the

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Complaint.

      65.    Mr. Behrens denies the allegations contained in Paragraph 65 of

the Complaint.


        COUNT II- ALLEGED BREACH OF STOCK AWARD

      66.    Mr. Behrens restates and reasserts his responses to the

previously numbered allegations as though fully set forth herein.

      67.    Paragraph 67 contains conclusions of law to which no response

is required. To the extent a response is required, Mr. Behrens refers to the

Stock Award for the full contents thereof and otherwise denies the

allegations contained in Paragraph 67 of the Complaint.

      68.    Paragraph 68 contains conclusions of law to which no response

is required. To the extent a response is required, Mr. Behrens refers to the

Stock Award for the full contents thereof and otherwise denies the

allegations contained in Paragraph 68 of the Complaint.

      69.    Paragraph 69 contains conclusions of law to which no response

is required. To the extent a response is required, Mr. Behrens refers to the

Stock Award for the full contents thereof and otherwise denies the

allegations contained in Paragraph 69 of the Complaint.



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      70.    Mr. Behrens denies the allegations contained in Paragraph 70 of

the Complaint.

      71.    Mr. Behrens denies the allegations contained in Paragraph 71 of

the Complaint.

      72.    Mr. Behrens denies the allegations contained in Paragraph 71 of

the Complaint, except admits that he received 2,392 RSUs as well as

dividends.

      73.    Mr. Behrens refers to the Stock Award for the full contents

thereof and otherwise denies the allegations contained in Paragraph 73 of the

Complaint.

      74.    Mr. Behrens denies the allegations contained in Paragraph 74 of

the Complaint.

                  ANSWER TO PRAYER FOR RELIEF

      Mr. Behrens specifically denies that Hershey is entitled to the relief

requested or to any other relief.


                        AFFIRMATIVE DEFENSES

      Mr. Behrens sets forth below his affirmative defenses. Each defense

is asserted as to all claims asserted against Mr. Behrens in the Complaint.

By setting forth these affirmative defenses, Mr. Behrens does not assume the

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burden of proving any fact, issue, or element of a claim where such burden

properly belongs to Hershey. Mr. Behrens does not in any way waive or

limit any defenses which are or may be raised by his denials and averments.

These defenses are pled in the alternative, to preserve the rights of Mr.

Behrens to assert such defenses, and are without prejudice to the ability of

Mr. Behrens to raise other and further defenses.


                    FIRST AFFIRMATIVE DEFENSE

                     FAILURE TO STATE A CLAIM

      Hershey’s claims are barred, in whole or in part, for failure to state a

claim upon which relief can be granted.


                  SECOND AFFIRMATIVE DEFENSE

                        PROMISSORY ESTOPPEL

      Hershey’s claims are barred, in whole or in part, by promissory

estoppel. Mr. Behrens remained at Hershey for a transition period, in

response to and reliance on representations from Hershey’s Global Head of

HR, made during his July 16, 2019 meeting with Mr. Behrens, that Hershey

would not claw back Mr. Behrens’ sign-on bonus.




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                  THIRD AFFIRMATIVE DEFENSE

                                 WAIVER

      Hershey’s claims are barred, in whole or in part, by waiver. During a

July 16, 2019 meeting with Mr. Behrens, Hershey’s Global Head of HR

expressed an intention to relinquish any rights that Hershey may have had to

claw back Mr. Behrens’ sign-on bonus.


                 FOURTH AFFIRMATIVE DEFENSE

                             AMENDMENT

      Hershey claims are barred, in whole or in part, because the Offer

Letter was amended. At a meeting with Hershey’s Global Head of HR on

July 16, 2019, Mr. Behrens and Hershey agreed that if Mr. Behrens

remained at Hershey for a transition period, Hershey would not seek to claw

back Mr. Behrens’ sign-on bonus.


                      FIFTH AFFIRMATIVE DEFENSE

                            PUBLIC POLICY

      To the extent any provisions of the Stock Award require repayment of

the cash value of vested RSUs and dividends, those provisions are




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unenforceable penalties, disproportionate to anticipated harm and contrary to

public policy.




Dated: January 31, 2020                Respectfully submitted,


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                      CERTIFICATE OF SERVICE

      I certify that on January 31, 2020, I caused a true and correct copy of

the foregoing Answer to be filed using the Court’s Electronic Filing System

(“ECF System”). The document is available for viewing and downloading

via the ECF System, and will be served by operation of the ECF System

upon all counsel of record.




                                       /s/ Peter H. LeVan, Jr.
                                       Peter H. LeVan, Jr.
